Case 1:19-mj-01159-SCY Document 16 Filed 06/11/19 Page 1 of 2

UNIT.
IN THE UNITED STATES DISTRICT COURT ALOU NaG SMT Cour
FOR THE DISTRICT OF NEW MEXICO JUN 1Y 2019
MI
UNITED STATES OF AMERICA, be nee ELFERS
Plaintiff, nas
V. No. 19-MJ-1159 SCY
CHRISTOPHER DOUGLAS,
Defendant.

ORDER FOR MENTAL COMPETENCY
EXAMINATION PURSUANT TO 18 U.S.C. § 4241

THIS MATTER is before the Court on Defendant’s Motion for Psychological
Evaluation of Defendant (Doc. 15), filed June 6, 2019. The United States takes no position
on this motion. Having reviewed the motion, the Court finds reasonable cause to believe
that Defendant is suffering from a mental disease or defect that has rendered him mentally
incompetent such that he is unable to understand the nature and consequences of the
proceedings against him or to assist properly in his defense. Therefore, pursuant to 18
U.S.C. § 4241(a), the Court orders Defendant to be examined for mental competency.

IT IS THEREFORE ORDERED, pursuant to 18 U.S.C. § 4241(b), that Defendant
undergo an examination by a licensed or certified psychologist or psychiatrist to determine if
he is competent to stand trial. The Clerk of Court for the District of New Mexico shall arrange
for an examination of defendant by a local qualified psychologist or psychiatrist at the earliest
practical time. The Clerk shall provide the psychologist or psychiatrist who performs the
evaluation with a copy of the criminal complaint, a copy of this order, and any other relevant
documents. The psychologist or psychiatrist who performs the evaluation shall promptly file a

report that contains all the information required under 18 U.S.C. § 4247(c)(1), (2), (3), and

(4)(A), including:
Case 1:19-mj-01159-SCY Document 16 Filed 06/11/19 Page 2 of 2
(1) Defendant’s mental health history and his present symptoms

(2) A description of any psychological, psychiatric or other medical tests
which were employed by the evaluating psychologist or psychiatrist and the
results of any such tests;

(3) The evaluating psychologist’s or psychiatrist’s findings and opinions
as to defendant’s present mental or medical diagnosis and prognosis;

(4) The evaluating psychologist’s or psychiatrist’s assessment of
whether defendant suffers from a mental disease or defect which prevents or
impairs his ability to understand the nature of the charges and the consequences
of the proceedings or to consult with his lawyer with a reasonable degree of
rational understanding; and |

(5) If the defendant does not presently have a rational or factual
understanding of the charges or presently does not have sufficient present ability
to consult with his lawyer with a reasonable degree of rational understanding,
the evaluating psychologist’s or psychiatrist’s assessment of whether there is a
substantial probability that the defendant will attain either of these capacities in
the foreseeable future.

IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3161(h)(1)(A), that any period

of delay resulting from the defendant’s Amended Motion to Determine Competency (Doc. 15),

filed on June 6, 2019, through and including the termination of any proceeding, including any

examination or hearing to determine defendant’s mental competency, shall be excluded for

purposes of calculating the defendant’s Speedy Trial Act rights.

DATED this 11th day of June, 2019

 
